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                           Expert Report of Wayne L. Backes, PhD

          In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)



   I.      Background & Qualifications

        I am a Professor of Pharmacology at Louisiana State University Health Sciences Center
in New Orleans, Louisiana. I received my B.A. in Chemistry from Western Maryland College
and my Ph.D. in Biochemistry from West Virginia University. I did my postdoctoral work in
Pharmacology under the direction of Dr. John B. Schenkman at the University of Connecticut
Health Center. At U Conn I was promoted to Instructor in 1981 and to Assistant Professor –
Research in 1983. I was appointed as a tenure track Assistant Professor in July 1984, became an
Associate Professor in 1989, and a full Professor in 1995. I served as Acting Head of the
Department of Pharmacology at LSU Health Sciences Center from 1999-2001. I was promoted
to my current position as Associate Dean for Research for the School of Medicine in 2001. I
have been an active member of both (1) the American Society for Biochemistry and Molecular
Biology and (2) the American Society for Pharmacology and Experimental Therapeutics
(ASPET) for about 25 years. I have had several roles in ASPET where I was (1) Secretary-
Treasurer of the Drug Metabolism Division, (2) Secretary-Treasurer of the Toxicology Division,
and (3) Chair of the Drug Metabolism Division. I was recently elected to the Executive
Committee ASPET where I serve as a Councilor, and also serve as a member of the ASPET
Finance Committee. My research interests are in the areas of drug and foreign compound
metabolism and pharmacokinetics. I have taught this material to medical and other students
since 1999, and have published over 65 peer-reviewed research papers in the area of drug and
foreign compound metabolism, toxicology, and pharmacokinetics as well as 24 review articles.
Over a dozen graduate students have or are currently under my guidance for their doctoral
research. My research has been continuously funded since 1988 by the National Institute of
Environmental Health Sciences as well as other state and federal agencies. I have also reviewed
many manuscripts for publication in scientific journals in the area of drug and foreign compound
metabolism, toxicology and pharmacokinetics. I currently serve as an Associate Editor for the
Journal Drug Metabolism and Disposition, where I send manuscripts to reviewers receive their
responses and make decisions regarding their acceptability for publication. Attached to this
report is my curriculum vitae, which includes more information pertaining to my qualifications
and a listing of my publications (Appendix A).

   II.     Methodology

        In forming my opinions set forth herein, I have reviewed the materials cited within my
report and listed in Appendix B. In addition, I also relied on my background, education, training,
professional experience, publications, and applied the same method of review and analysis as I
use in my academic practice.

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        I have not testified over the past four years. My fee schedule for this litigation (Appendix
C) is attached to this report.

    III.     Summary of Opinions

    1. Xarelto, like all anticoagulants, reduces the risk of forming clots, but also carries the very
       serious side effect of major bleeding, which should be minimized if possible.
    2. Xarelto has a narrow therapeutic index.
    3. Xarelto is a highly variable drug considering the range in exposures observed in patients
       utilizing the same dose.
    4. Xarelto exhibits an exposure-response relationship with respect to bleeding.
    5. Although the mechanism of action of Xarelto is the same as other Factor Xa antagonists,
       the combination of its short half-life and once per day dosage regimen increase its risk for
       bleeding episodes as compared to other similar agents.
    6. Because of the short half-life of Xarelto, and the strategy for once per day administration,
       a higher dose is needed to maintain therapeutic drug concentrations for the entire time
       prior to the next dose. This strategy will lead to drug accumulation over time for patients
       who clear Xarelto more slowly, increasing the risk of adverse bleeding episodes.
    7. The pharmacokinetic behavior of Xarelto was characterized in young, healthy subjects
       where it exhibited a terminal half-life of about 5 h; however, the groups being treated
       with this drug are more elderly, and frequently have renal and/or hepatic impairment.
       This patient group is much more likely to have lower clearance values for Xarelto, and is
       more at risk for drug accumulation and adverse bleeding episodes. This is particularly
       relevant to its use for atrial fibrillation where the patients tend to be older.
    8. In the report by Mueck (2014), there was evidence that the half-life for Xarelto increased
       with dose, suggesting that the drug may be trending toward zero-order elimination, which
       indicates that some elimination process is becoming saturated. In this case, half-lives
       measured using a lower dose (e.g. 2.5 mg) may overestimate the clearance of Xarelto
       when given at higher concentrations.


    IV.      Narrow Therapeutic Index

       Xarelto, as with all oral anticoagulants, has an intrinsically narrow therapeutic range
because bleeding is both the therapeutic goal and the primary toxic effect (Center for Drug
Evaluation and Research, 2011).1 However, because of the manner in which the clinical trials


1
  The FDA stated that all anticoagulants “are intrinsically narrow therapeutic range drugs because their principal
toxicity, bleeding, is a result of their intended pharmacodynamics activity; too low a dose results in inadequate
prevention of pathological thrombosis and consequent serious clinical events and too high a dose results in excessive

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were conducted, obtaining a specific value for the therapeutic index of Xarelto was not
determined. Regardless of the difficulty in determining this specific value, it is known that the
drug has a reported half-life of about 5 h. When such a drug is given one time per day, this
means that there is about a 32-fold change in the drug concentration over a 1 day period (actually
25 h). Assuming that a drug concentration is chosen so the drug is effective over the entire 24 h
period, this means that the peak drug concentration is about 30-fold higher than the minimum
effective concentration. In other words, because of the severity of the effect of overdose, the
range of exposure between the beneficial effect of the drug, e.g., preventing stroke, and the toxic
effect of the drug, e.g., major bleeding, necessitates careful dose selection in order to achieve
optimal benefit/risk balance. Consequently, a 30-fold difference in the minimum versus
maximum concentration is likely excessive for a drug with a small therapeutic window, if one
assumes that the plasma concentrations are above the minimum effective concentration during
the entire time (even at the trough). This concern is exacerbated when treating patients with
diminished clearance, as the peak concentrations of the drug would be expected to accumulate
with time and attain even higher concentrations. The important implications of a narrow
therapeutic index are enhanced when a drug also has variability in exposure either within a single
patient or between a group of patients, as discussed in further detail below.




Figure 1 - [G&G 12th Edn (2011), Figure 3-6]




inhibition of physiologic clotting and excessive bleeding.” (2011 FDA Summary Review Memorandum approving
the A-fib indication).

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   V.      Variability in Exposure

Xarelto has high inter-patient variability as demonstrated in the below table:




       Maybe more importantly is the variability in the terminal half-life reported by Mueck
(2014), which ranged from 4.8-36 h in those subjects receiving the 20 mg tablet. As previously
mentioned, patients having a short Xarelto half-life will exhibit large fluctuations on a
percentage basis; however, patients with a longer Xarelto half-life will accumulate drug with
repeated dosing reaching a higher steady-state level.




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        This problem is illustrated in Figure 2, where the rivaroxaban pharmacokinetics are
simulated based on the half-life, and the estimate of Cmax (Mueck, 2014) after continued
administration of 20 mg tablets. (In this simulation, these drugs were administered intravenously
to simplify the math; however, extravascular administration would produce analogous curves
except for a presence of a slower increase in the drug concentration, which would attain its
maximum concentration at about 2 h (Mueck, 2014)). The red curve shows the predicted
changes in drug concentration as a function of time when administered (OD), whereas the green
curve shows that of BID administration at the same dose. If you assume that the therapeutic goal
is to maintain an effective drug concentration over the entire treatment time, then the minimum
effective concentration (MEC) would need to be near the lower horizontal line on the graph.
Also, if you assume that the peak concentration is a safe dose (more on that later), the highest
dose would be in the range of the upper dashed line denoting toxicity. This makes the dose
range 12 – 311 ng/ml. From this graph, it is clear to see that dosing BID better maintains the
drug concentration within the therapeutic window over the entire range (35-185 ng/ml), than can
be seen with OD administration.




Figure 2 – Simulation of Xarelto pharmacokinetics in an individual with a half-life of 5 h and a peak concentration
of 300 µg/L. These values are based on Table 1 from Mueck et al., 2014.

        Now for some drugs, toxicity is not particularly life threatening (as examples – gastric
upset, feeling lethargic, etc.); however, for anticoagulants, the toxic effect is an extension of the
main pharmacologic effect, bleeding – which can be life threatening. Consequently, it is
imperative that any dosing regimen given to a patient maintains the drug concentration within the
therapeutic window. For rivaroxaban, as well as other anticoagulants, determination of this
window is imperative.

        As can be seen in Figure 3, the prothrombin time (PT) is linearly related to the
rivaroxaban plasma concentration. Using the rivaroxaban range for a drug with the average half-
life and Cmax, this means that the PT would vary about 2-fold (ranging from about 13.5-27 s).
From this graph, there does not appear to be any tendency for this effect to plateau, increasing to
greater than 35 s at 500 µg/L as shown on the graph (Figure 3).




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Figure 3 – This data was obtained from – [Kubitza, et al., Safety, pharmacodynamics, and pharmacokinetics of BAY
59-7939 – an oral, direct Factor Xa inhibitor – after multiple dosing in healthy male subjects, Eur. J Clin Pharmacok.
2005 61, 873-880, Figure 4b]


        The problem with trying to force a short half-life drug into a once-per-day dosage
regimen is that it would be very susceptible to interindividual pharmacokinetic variability. The
published data shows significant variability in the half-life among individuals ranging from a low
of 4.8 h to 36 h when administered at a dose of 20 mg OD (Mueck, 2014). This can be seen with
Figure 4, where the time course for daily administration is shown to be affected by the half-life
of the drug in different individuals.




Figure 4 – Effect of half-life on the time required to achieve steady state, and on the steady state Xarelto
concentration. The half-lives used represent the average half-life for Xarelto reported by Mueck (2014), and the
highest level reported in Table 1 of this reference. The Cmax used was also taken from that report.



       Variability in the half-life delays the time required to attain the steady-state concentration
and leads to extremely high plasma concentrations that are likely in the toxic range. The peak
concentration in the individual having a t½= 35 h would be expected to rise to about 800 µg/L
(Figure 4). Using the data in Figure 3, which requires an extrapolation to this Xarelto
concentration, the prothrombin time would be increased to greater than 50 seconds.


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   VI.     Dose/Exposure-Response

        Anticoagulants, including Xarelto, are well understood to exhibit exposure-response
relationships with respect to bleeding, as demonstrated in the below figures:




[Earp, J.C. Edoxaban Dosing Considerations Based on Renal Function, Oct. 30, 2014, Slide 32]




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Figure 5 – Panel A from Blann 2003. Panel be from Earp, J.C. Edoxaban Dosing Considerations Based on Renal
Function, Oct. 30, 2014, Slide 32. Panel C from [Reilly 2014].



        Internal Janssen documents indicate that the exposure-response curves for edoxaban and
dabigatran are “pretty similar” and that the curves for Xarelto are “probably similar as well.”
(XARELTO_JANSSEN _18580558). A dose-response relationship was observed with respect to
the effect of rivaroxaban, as measured by prothrombin time (PT) in the analysis conducted by the
FDA, as presented below:




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Figure 6 – [FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing approvability
of the Xarelto A-fib indication.]



        With respect to ischemic strokes, the FDA found a flat response-curve.




Figure 7 – [FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing approvability
of the Xarelto A-fib indication.]



       Contrary to ischemic strokes, the FDA reported an observed exposure-response curve for
PT and major bleeding.




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Figure 8 – [FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing approvability
of the Xarelto A-fib indication.]


        Internal documents indicate that Janssen made similar observations.
(XARELTO_JANSSEN_01207639, stating that “scientifically, [] there is no dose response curve
for efficacy…there is a dose response curve on bleeding”.) Similarly, the FDA stated, “there is a
linear correlation between rivaroxaban levels and [PT]…there is also a correlation between PT
and risk of bleeding…[t]his applicant [Janssen] has not chosen to utilize this information.” (FDA
Summary Review). The reviewer goes on to state that “infrequent monitoring…to assure
appropriate dosing of drugs that prevent stroke and cause bleeding may improve outcomes and
be acceptable to patients.” (FDA Summary Review). Thus, the FDA took the position that PT
can be used to evaluate exposure to improve outcomes, but the manufacturers have failed to
include such information in the label.2


     VII.    Dose

     A. Dosing Regimen

        The FDA primary clinical reviewers recommended against approval based in part on the
dosing regimen, stating that, “There was no rational basis for the applicant’s choice of the dose
tested in ROCKET.” (2011 FDA Summary Review Memorandum approving the A-fib
indication). As noted above, the FDA also declared that all anticoagulants have a narrow
therapeutic index, which affects the delicate balance of dose selection. The FDA went on to state
that “prudent drug development of anticoagulants should include robust investigation of the
relationship between dose and outcomes in order to choose reasonable dose(s) for administration
to patients.” Importantly, the FDA declared that there was no available data to adequately select

2
 This was also suggested by Kubitza, et al., Safety, pharmacodynamics, and pharmacokinetics of BAY 59-7939 – an
oral, direct Factor Xa inhibitor – after multiple dosing in healthy male subjects, Eur. J Clin Pharmacok. 2005 61,
873-880.

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the appropriate dosing regimen for ROCKET. Due to the intrinsically narrow therapeutic index
of rivaroxaban, it was the FDA’s preference that the sponsor test BID dosing, but it appears that
the sponsor did not follow the FDA’s recommendation. Importantly, the FDA also stated that it
lacks the authority to require the sponsor to test its preferred dosing regimen. (2011 FDA
Summary Review Memorandum approving the A-fib indication).

    B. The Dose is Too High

        In addition to the FDA’s comments prior to and at the time of approval regarding the lack
of rationale for the dosing regimen in ROCKET, the co-principal investigator of the trial itself,
Dr. Robert Califf, consistently questioned the choice of dose and repeatedly stated that it was
simply too high. He worked with other members of the Executive Committee to create a proposal
for a study (referred to as “ROCKET 2”) to confirm the best possible dosing regimen for
Xarelto, but it was ultimately rejected for reasons based almost solely on marketing
considerations. (See XARELTO_JANSSEN_03927493; XARELTO_JANSSEN_01296748;
XARELTO_JANSSEN_00206990; XARELTO_JANSSEN_08583165;
XARELTO_JANSSEN_01330113; XARELTO_JANSSEN_00208030;
XARELTO_JANSSEN_00208031; XARELTO_JANSSEN_02531744;
XARELTO_JANSSEN_01207639). In fact, it appears that Dr. Califf’s opinion that the 20mg
dose was too high affected his decision regarding his own mother’s rivaroxban therapy, and
declared that he would not allow her to take 20mg. (See DCRI0002794; DCRI0003003). In sum,
the current commissioner of the FDA and co-principal investigator of ROCKET, and someone
who is aware of the shallow efficacy dose-response and steep bleeding dose-response, stated that
the doses currently sold for the atrial fibrillation indication were too high, and in fact
recommended that his own mother take a lower-than indicated dose; and yet to this day the
company has not endorsed the recommendations of Dr. Califf and declined to conduct a further
study to determine the best possible dose.


    VIII. Weaknesses of Xarelto Dosing Could have been Addressed

        As mentioned previously, because of the short half-life of Xarelto, coupled with its large
interindividual variability, there is a problem with once per day dosing of the drug. If the patient
clears Xarelto with a short half-life (t½ ~ 5 h), there will be large fluctuations in the drug
concentration with the risk of the patient being over-medicated at the peak and/or
under-medicated at the trough. However, the risk of bleeding increases with individuals who are
unable to clear Xarelto as effectively. Pharmacokinetic variability in the half-life was reported
by Mueck (2014) to range from 5 h to over 36 h, significantly increasing the risk of drug
accumulation to toxic levels.

        A confounding factor with characterization of the pharmacokinetic behavior of Xarelto
was that it was determined in young, healthy subjects where it exhibited a terminal half-life of
about 5 h; however, the groups being treated with this drug are more elderly, and frequently have
renal and/or hepatic impairment. These patient groups are much more likely to have lower
clearance values for Xarelto, and are more at risk for drug accumulation and adverse bleeding
episodes. This is particularly relevant to its use for atrial fibrillation where the patients tend to be
older, as renal function has been reported to continually decrease with age (Gram, T.E. 1994).
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       Both the risk from excessive fluctuations and drug accumulation to toxic concentrations
can be addressed. First, the fluctuations can be decreased by either multiple dosing (e.g. twice
per day at 10 mg vs. OD at 20 mg), or development of a time-released formulation of Xarelto.
These changes would decrease the highest peak concentrations and avoid the troughs found with
OD dosing.

         Second, potential toxicity resulting in patients with lower Xarelto clearance (i.e. longer
half-lives) can be avoided by therapeutic monitoring of the prothrombin time. A characteristic of
a drug having a longer half-life in an individual is that it takes longer for the drug to attain its
steady state concentration. It takes about 4-5 half-lives for a drug to achieve 95% of its steady
state concentration. A drug with a half-life of 5 h will not accumulate to any great extent with
continued dosing, but will exhibit larger peak-to-trough variation (on a percentage basis). In
contrast, a drug with a half-life of 24 h will accumulate to a higher steady state concentration, but
it will take about 4-5 days to achieve steady state. Consequently, in patients who are elderly, or
have either renal or hepatic impairment, they will likely have a longer half-life. In order to avoid
toxicity in these patients I would recommend that either the Xarelto concentration or the
prothrombin time be measured at the trough of the first day (just before being given the second
dose), and on the third or fourth day. If the drug concentration or prothrombin times are
increased on day three, a dosage adjustment (such as decreasing from a 20 mg to a 15 mg tablet)
will decrease the risk of toxic bleeding. If you want the most accurate measurement, you could
then take a PT reading at the trough of the following day, and then 4-5 days later to ensure that a
proper PT has been attained.




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                         APPENDIX A
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                      CURRICULUM VITAE
                       WAYNE L. BACKES
                          August 2016


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                                      Slidell, LA 70461
                                      (985) 781-1387


   OFFICE ADDRESS:                    Dept. of Pharmacology and Experimental
                                                 Therapeutics
                                      The Stanley S. Scott Cancer Center
                                      LSU Health Sciences Center
                                      533 Bolivar Street
                                      New Orleans, LA 70112
                                      (504)-568-6557


  PRESENT RANK:                       Professor & Associate Dean for Research
                                      School of Medicine




  MARITAL STATUS:                     Married, 2 children
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Curriculum Vitae
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EDUCATION:

     College:                    Western Maryland College
                                 Westminster, MD
                                 B.A. in Chemistry
                                 1969-1973

                                 University of Delaware
                                 Newark, DE
                                 Biology
                                 1974

     Graduate School:            West Virginia University Medical Center
                                 Morgantown, WV
                                 Doctoral in Biochemistry
                                 1974-1979

                                 University of Connecticut Health Center
                                 Farmington, CT
                                 Postdoctoral in Pharmacology
                                 1979-1981


ACADEMIC APPOINTMENTS:

      Graduate Assistant, Department of Biochemistry, West Virginia University, 1975-1979
      Postdoctoral Trainee, Department of Pharmacology, University of Connecticut Health
              Center, 1979-1981
      Instructor of Pharmacology, University of Connecticut Health Center, 1981-1983
      Assistant Professor of Pharmacology, University of Connecticut Health Center, 1983-
              1984
      Assistant Professor of Pharmacology, LSU Medical Center–New Orleans, July 1984 –
              1989
      Member of the Stanley S. Scott Cancer Center – 1989 - present
      Associate Professor of Pharmacology, LSU Medical Center – New Orleans, July 1989 -
              1995
      Professor of Pharmacology, LSU Medical Center – New Orleans, July 1995 – present
      Vice Chair of Pharmacology, LSU Medical Center – New Orleans, July 1998 – Dec.
              1998
      Acting Head of Pharmacology, LSU Health Sciences Center – New Orleans, January
              1999 – March 2001
      Associate Dean for Research, LSU Health Sciences Center – New Orleans, October 2001
              – present
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L.S.U. TEACHING RESPONSIBILITIES:

      Principles of Pharmacology (graduate course, 1986-present - course director 1986-2001)
             - enzyme kinetics, pharmacokinetics, drug metabolism, pharmacogenetics,
             mechanism of P450 function
      Medical Pharmacology (1984-present – course director, 1999-2002) - pharmacokinetics,
             drug metabolism, pharmacodynamics
      Ethics in Biomedical Sciences – Environmental Ethics Considerations (2000-2014) –
                     Required course for all graduate students
      Pharmacology for Graduate Nursing (2001-2002) pharmacokinetics, drug metabolism,
             pharmacodynamics
      Molecular Biology of Cancer (1997-2005) course offered by the Department of
             Biochemistry and Molecular Biology - chemical carcinogenesis
      Physiology and Pathophysiology of the Liver (1999-2005) course offered by the
             Department of Physiology – drug metabolism and the cytochrome P450 system
      Dental Pharmacology (1984-1997) - drug-receptor theory, pharmacokinetics and drug metabolism
      Nursing Pharmacology (1984-1994) - drug-receptor theory, pharmacokinetics, drug
             metabolism, drug interactions
      Cardiopulmonary Pharmacology (1986-1996, 1998-2000, course director 1992-1994) -
             pharmacokinetics, drug metabolism, drug interactions, drug-receptor theory
      Pharmacology for Physical Therapy Students (1989-1996, course director 1992-1994) -
             drug-receptor theory, pharmacokinetics, drug metabolism
      Protein Biochemistry (1986-1989) - steady state enzyme kinetics, theories of catalysis
      Physical Biochemistry (1986-1997) - stopped-flow spectrophotometry, non-steady state
             enzyme kinetics, Michaelis Menten kinetics, enzyme inhibition, bi-substrate
             kinetics

ADMINISTRATIVE AND COMMITTEE RESPONSIBILITIES:

National and International

      International Symposium on Microsomes and Drug Oxidations – Scientific Advisory
              Committee 2015 – present
      Symposium Coordinator – 21st International Symposium on Microsomes and Drug
              Oxidations – Organization of drug metabolizing enzymes and their redox partners
              in the endoplasmic reticulum, Davis CA, 2016
      ASPET Councilor – July 2015 – 2018
      ASPET Finance Committee – At Large Member, 2013 – 2019
      Symposium Coordinator – Experimental Biology 2015 – The Role of Protein-Protein and
              Protein-Membrane Interactions on P450 Function, March 2015
      Chair of External Review Committee for the Graduate Program in Environmental and
              Molecular Toxicology at Oregon State University, 2013
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      Chair – Drug Metabolism Division of American Society of Pharmacology and
             Experimental Therapeutics, 2011-2014
      Treasurer, Society for the Study of Cytochrome P450, 2006 – present
      Secretary/Treasurer – Toxicology Division of American Society of Pharmacology and
             Experimental Therapeutics, 2008 – 2011
      Symposium Coordinator – Gordon Research Conference on Drug Metabolism, The Role
             of Protein-Protein Interactions on Cytochrome P450 Function, July 2010
      Symposium Coordinator – Gordon Research Conference on Drug Metabolism, Impact of
             Protein-Protein Interactions on Metabolism, July 2007
      Member of the Organizing Committee - 14th International Conference on Cytochromes
             P450 in Dallas, 2002 - 2005, July 2005
      Symposium Coordinator – Gordon Research Conference on Drug Metabolism, The Role
             of Protein-Protein Interactions on Cytochrome P450 Function, July 2003
      Secretary/Treasurer – Drug Metabolism Division of American Society of Pharmacology
             and Experimental Therapeutics (1998 – 2002)
      Nominating Committee (Committee Chairman) Drug Metabolism Division of American
             Society of Pharmacology and Experimental Therapeutics (1997)

Regional

      Louisiana Cancer Consortium Steering Committee, 2002 - 2008
      Southeastern Pharmacology Society Organizing Committee, 1991
      Sigma Xi Board Member, 1990 - 1994

University

      Animal Care Advisory Committee (HSC) – Committee Chair – 2015-present
      Clinical Research Grants Committee – Committee Chair – 2015-present
      LSU-LSUHSC Collaborative Grants Committee – Committee Chair – 2015-present
      Internal Advisory Board – Cardiovascular Center of Excellence – 2014 - present
      Junior Faculty Guidance and Mentoring Committee – Committee Chair – 2010-present
      Clinical Practice Advisory Committee – 2010-present
      Research Space Committee – Committee chair – 2002-present
      Research Advisory Council (Committee Chair) – 2008-present
      Executive Committee for Environmental Health & Safety (HSC) – 2006-present
      General Safety Committee (HSC), 1985-1991, 2005-present
      Office Space Committee – 2004-present
      Executive Research Council (ex officio) – 2003-present
      Core Laboratories Steering Committee – Committee Chair – 2002-present
      Research Enhancement Program Committee – 2001-present (ex-officio 2005-present)
      Medical Administrative Council – 1999-present
      Animal Care Advisory Committee (Committee Chair 2015-present) – 2002-2015
      Genetics Head Search Committee – Committee Chair – 2011-2014
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      Liaison Committee on Medical Education Self-Study – Educational Resources
               Committee (Committee Co-chair) – 2008-2009
      LSUHSC/New Orleans Public Schools Science Partnership, member of the advisory
               committee – 2002-2008
      Physiology Head Search Committee – Committee Chair – 2008-2009
      Pharmacology Department Head – Search Committee – 2007-2010
      Office Space Committee – Committee co-chair – 2002-2008
      Committee on Faculty Evaluation 2001-2009
      Stanley S. Scott Cancer Center Director – Search Committee – 2006-2007
      Chancellor’s Award Selection Committee – 2000-2004
      Curriculum Renewal Committee – 1999-2003
      Curriculum Oversight Committee – 1998-2003
      Council on Professional Conduct – 1990-2005
      Curriculum Committee – Development Workgroup – 1998-2004
      Executive Committee – Stanley S. Scott Cancer Center – 1998-2006
      Faculty Assembly Delegate – 1993-1995 & 2000-2004
      Biochemistry Head Search Committee – Committee Chair – 2002-2004
      Board of Directors - LSUMC Core Laboratories, 1991-2002
      Center Director Evaluation Committee (committee chair) - review of the director of the
               Stanley S. Scott Cancer Center – 2001-2002
      Liaison Committee on Medical Education – Objectives Committee – 2000-2002
      Committee on Faculty Awards and Fellowships - Basic Science Subcommittee, 1996-
               2000
      Student Evaluation Focus Group, 1997-2000
      Evaluation Working Group Subcommittee to evaluate Neurology Courses – 1999-2001
      Dental Administrative Council – 1999-2001
      Curriculum Committee - Accreditation Workgroup, 1996-1998
      Stanley S. Scott Cancer Center Internal Advisory Committee, 1994-1996
      Stanley S. Scott Cancer Center Steering Committee, 1992-1994
      Institutional Cancer Research Grants Review Committee, 1990-1993
      Radiation Safety Committee, 1989-1993
      Southern Association of Colleges and Schools Accreditation Self Study Committee:
               Student Educational Services Subcommittee, 1992
      Graduate Student Travel Award Review Committee, 1989-1991
      Liaison Committee for Medical Education - Departments, Research, and Medical
               Education Self-Study Subcommittee for Accreditation, 1987, 1990
      Graduate Research Day Organizing Committee, 1989-1991
      Biomedical Research Support Group Equipment Grant Review Committee, 1988

Departmental

      Chair – Department of Pharmacology Promotions and Tenure Committee, 1995-1999;
             2001-2005, 2012
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      Acting Head – Department of Pharmacology, 1999-2001
      Course Director – Medical Pharmacology, 1999-2001
      Co-course Director – Principles of Pharmacology, 1999-2002
      Course Director – Principles of Pharmacology, 1992-1998
      Graduate Student Affairs Committee, 1994-1998
      Course Director - Allied Health Pharmacology, 1992-1994
      Graduate Student Coordinating Committee - Chairman, 1990-1991
      Director - Pharmacology Seminar Program, 1987-1992


GRADUATE STUDENTS:

             Stephen T. Sier, M.S.               8/1985-1988
             David J. Sequeira, Ph.D.            8/1987-1992
             Wei Yuan, Ph.D.                     1/1990-1994
             Renee Bergeron, M.S., Ph.D.         8/1991-1995
             Sonia Cardoza , Ph.D.               1/1994-1997
             Angela Malin, M.S.P.H.              9/1996-1997
             Shuxin Zhang, M.D., Ph.D.           8/1997-2002
             Russell Kelley, B.S., Ph.D.        10/2000-2004
             Warren (Jay) Huber, Ph.D.           1/2004-2008
             Lauren Brignac-Huber, Ph.D.         8/2005-2011
             Jiwon Park, Ph.D.                   6/2010-2015
             John Patrick Connick                8/2011-present
             Charles (Seth) Lott                 8/2016-present

POSTDOCTORAL ASSOCIATES & JUNIOR FACULTY:

             Neelam Dwivedi, Ph.D.                                     1998-2000
             Xue Jun Zhao, M.S., M.D.                                  1999-2000
             Dongmei Cheng, M.D., M.S.                                 2002-2006
             James Robert Reed, Ph.D. (Research Assistant Professor)   2003-2015
             James Robert Reed, Ph.D. (Research Associate Professor)   2015-present

AWARDS AND SOCIETIES:

      American Society for Pharmacology and Experimental Therapeutics (active)
      Drug Metabolism Division of ASPET (active)
      Toxicology Division of ASPET (active)
      American Society for Biochemistry and Molecular Biology (active)
      Society of Toxicology
      American Chemical Society
      New York Academy of Sciences
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      Phi Kappa Phi
      Sigma Xi

GRANT AND JOURNAL REVIEWING RESPONSIBILITIES

GRANTS

      Superfund Research Program, P42 Study Section Member (ad hoc), NIEHS, Feb. 2015
      National Institutes of Health, National Center for Complementary and Alternative
             Medicine, Botanical Dietary Supplement Research Centers P50 Study Section –
             2014
      National Institutes of Health, Gastroenterology, Kidney, Urology & Toxicology Study
             Section, Chair, 2013
      National Institutes of Health, Xenobiotic and Nutrient Disposition and Action (XNDA)
             Study Section Standing Member, 2009-2012
      NIH-NIAAA - IAR activated for Special Emphasis Panel (SEP) ZAA1 JJ (17), “RFA
                     AA-08-001 / -002: The Role of Mitochondria in Alcohol-Induced Tissue
                     Injury”, March 17-18, 2008
      National Institutes of Health, Xenobiotic and Nutrient Disposition and Action (XNDA)
             Study Section, 2004, 2006, 2007 (ad hoc)
      National Institute of Environmental Health Sciences – Superfund Basic Research and
             Training Program – Center Reviews, National Institutes of Health, October 2004-
             April 2005
      National Institute of Environmental Health Sciences – Special Emphasis Panel (Review
             of Superfund Supplements), National Institutes of Health, April 2004-2005
      National Institute of Environmental Health Sciences – Environmental Health Center
             Review Site Visit Committee, National Institutes of Health, 2003
      National Center for Complementary and Alternative Medicine National Institutes of
             Health, (study section) – 2002-2004
      Merit Reviewer for Veterans Administration Grant Proposals - (1996-2002)
      Grant Reviewer for National Science Foundation - (1996-2002)
      Grant Reviewer for the Human Frontier Science Program - (1996-2002)

JOURNALS
     Associate Editor for the Journal Drug Metabolism and Disposition (2012-present)
     Editorial Board Member for Frontiers Journals (2016-present)
     Editorial Board Member for the Journal Drug Metabolism and Disposition (2000-
             present)
     Editorial Board Member for the Journal Clinical Journal of Oncology Nursing (2003-
             2008)
     Specific Field Editor for Journal of Pharmacology and Experimental Therapeutics
             (1997-1998)
     James Gillette Best Paper Award reviewer for the Journal Drug Metabolism and
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             Disposition – (1998)

      Reviewer for the following Journals:
            Alcohol (2001)
            Alcoholism: Clinical and Experimental Research (2000)
            American Journal of Physiology – Gastrointestinal and Liver Physiology (2006)
            Analytical Biochemistry (2003)
            Archives of Biochemistry and Biophysics (1998-2011)
            Basic Methods in Protein Purification and Analysis (2012)
            Biochemical Journal (2010)
            Biochemical Pharmacology (1993, 1997, 2002-2008, 2012, 2013-2015)
            Biochemistry (1999-2015)
            Biochimica et Biophysica Acta (2006)
            Biofactors (2015)
            Brain Research (1997)
            Canadian Journal of Physiology and Pharmacology (2002, 2006, 2009)
            Chemical Research in Toxicology (2012)
            Clinical Journal of Oncology Nursing (2006)
            Comparative Biochemistry and Physiology (2006)
            Current Drug Metabolism (2011, 2014)
            Current Medicinal Chemistry (2010)
            Drug Metabolism and Disposition (1995-2015)
            Drug Metabolism Reviews (2002)
            Expert Opinion on Drug Metabolism & Toxicology (2010)
            Expert Opinion on Therapeutic Targets (2007)
            FASEB Journal (2006)
            FEBS Letters (2003)
            Journal of the American Chemical Society (2006)
            Journal of Biological Chemistry (2006-2007)
            Journal of Computer-Aided Molecular Design (2005)
            Journal of Inorganic Biochemistry (2002, 2003, 2006, 2007, 2012-2015)
            Journal of Pharmacology & Experimental Therapeutics (1998-2009, 2012, 2013)
            Medicinal Chemistry Letters (2015)
            Molecular Pharmacology (1995-1996, 2004-2006, 2010, 2012-2015)
            Pharmacology and Therapeutics (2002)
            Pharmacology Research and Perspectives (2014)
            PLOS One (2012, 2015)
            The Pharmacogenetics Journal (2003)
            Scientific Reports (2015)
            Toxicology (2014)
            Toxicology Letters (2012)
            Xenobiotica (1994, 1997)
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COMMITTEE MEMBERSHIPS FOR NATIONAL & INTERNATIONAL SOCIETIES

      ASPET Councilor, 2015-2018
      Internal Advisory Committee, Nutrition and Obesity Research Center, Pennington
              Biomedical Research Center (2P30DK072476); NIDDK, January 2013-present
      External Advisory Committee, Center for the Study of Botanicals and Metabolic
              Syndrome., Pennington Biomedical Research Center and Rutgers University;
              NCCAM, January 2006-present
      ASPET Finance Committee – At Large Member, 2013 – 2016
      Chair, Drug Metabolism Division of American Society of Pharmacology and
              Experimental Therapeutics (2011-2014)
      Chair of External Review Committee for the Graduate Program in Environmental and
              Molecular Toxicology at Oregon State University, 2013
      Symposium Coordinator – Gordon Research Conference on Drug Metabolism, July 2010
      Secretary/Treasurer – Toxicology Division of American Society of Pharmacology and
              Experimental Therapeutics (2008-2011)
      Member of the Organizing Committee – Gordon Research Conference on Drug
              Metabolism, Symposium Coordinator, July 2007
      Member, Board of Directors, 14th International Conference on Cytochromes P450 in
              Dallas, July 2005
      Member of the Organizing Committee - 14th International Conference on Cytochromes
              P450 in Dallas, July 2005
      Member of the Organizing Committee – Gordon Research Conference on Drug
              Metabolism, Symposium Coordinator, July 2003
      Secretary/Treasurer – Drug Metabolism Division of American Society of Pharmacology
              and Experimental Therapeutics (1999-2002)
      The 1997 Nominating Committee of the Drug Metabolism Division of the American
              Society of Pharmacology and Experimental Therapeutics (Committee Chairman).

COMMUNITY SERVICE

      Expert witness for the Indigent Defenders Office – State of Louisiana (gratis) - 1998
      Judge for Little Oak/Boyett Science Fair, Slidell, LA – 1998-2000

PREVIOUS GRANT AWARDS:

      Institutional Cancer Research Funds, "Factors Controlling the Rate of Activation of
               Small Aromatic Hydrocarbon Carcinogens", 1984, Wayne L. Backes, principal
               investigator, $7490.
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      National Institutes of Health Biomedical Research Support Group (LSU), "Molecular
             Interactions between Components of the Microsomal Electron Transport Chain",
             1984, Wayne L. Backes principal investigator, $3,000.

      Cancer Association of Greater New Orleans, "Mechanism of Activation of Small
            Aromatic Hydrocarbon Carcinogens", 1985, Wayne L. Backes principal
            investigator, $13,800.

      Cancer Association of Greater New Orleans, "Effects on the Disposition of Small
            Chlorinated Aromatic Hydrocarbon Carcinogens", 1986, Wayne L. Backes
            principal investigator, $11,641.

      National Institutes of Health Biomedical Research Support Group (LSU), "Structure-
             Activity Relationship for Xenobiotic Mediated Induction of Cytochrome P-450
             Isozymes", 1986, Wayne L. Backes principal investigator, $3,500.

      Hoffmann-La Roche, "Measurement of Benzphetamine and 7-Ethoxycoumarin
            Metabolism", 1988, Wayne L. Backes principal investigator, $5,000.

      National Cancer Institute, "Suicide Substrate of Cytochrome P-450 as Anticarcinogen",
             1987-1990, William Alworth principal investigator, Wayne L. Backes co-
             investigator, $269,343.

      Hoffmann-La Roche, "Measurement of Benzphetamine and 7-Ethoxycoumarin
            Metabolism", 1989, Wayne L. Backes principal investigator, $35,000.

      National Institute of Environmental Health Sciences, "Toxicological Significance of
             Alkylbenzene Metabolism", January 15, 1988 to December 31, 1992, Wayne L.
             Backes principal investigator, $313,762 direct costs (years 1 – 5).

      Neuroscience Center of Excellence (LSUMC), “Role of Cytochrome P450 in the
            Metabolic Changes Produced by Cerebral Ischemia”, January 1993 to December
            1993, Wayne L. Backes, co-principal investigator, $10,000.

      Louisiana Education Quality Support Fund (LEQSF), "Development of a Model for the
             Production of Plant Medicinals", July 1, 1994 to June 30, 1995, Wayne L. Backes,
             principal investigator, $50,000.

      Neuroscience Center of Excellence (LSUMC), “Effect of Alkylbenzene Exposure on
            P450 Expression in Brain”, March 1, 1995 to June 30, 1995, Wayne L. Backes,
            principal investigator, $10,000.

      Lower Mississippi Region Interagency Cancer Study - Preliminary, "Measurement of
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             Benzene and Trans, Trans-Muconic Acid Levels as an Index of Benzene
             Exposure", November 1, 1995 to October 31, 1996, $30,000.

      Lower Mississippi Region Interagency Cancer Study (Environmental Protection
           Agency), "Examination of Polymorphisms in P450 Genes in Human Subjects in
           the Lower Mississippi River Region”, June 1, 1997 to October 31, 2001,
           $107,240 direct costs.

      National Institute of Environmental Health Sciences (NIEHS – ES04344), “Toxicological
             Significance of Alkylbenzene Metabolism”, May 1, 1996 to April 30, 2002,
             Wayne L. Backes, Ph.D., Principal Investigator, $711,876 direct costs, $939,901
             total costs (years 6 – 10).

      LSU Health Sciences Center Research Enhancement Fund, “Toxicological Significance
           of Alkylbenzene Metabolism”, December 1, 2001 to November, 2002, Wayne L.
           Backes, Ph.D., Principal Investigator, $16,000 direct costs.

      National Institute of Alcohol and Alcohol Abuse (NIH – T32 AA07577), “Biomedical
             alcohol Research Training Program”, September 1, 1999 to August 31, 2004,
             (Bagby/Shellito – Principal Investigators), W.L. Backes – member of core faculty,
             $1,051,617 direct costs, $1,135,739, total costs.

      Health Excellence Fund (HEF – State of Louisiana), “Genetics Studies in the Acadiana
             Population”, July 1, 2000 to June 30, 2005, Bronya Keats, Ph.D., Principal
             Investigator, $4,150,500 total costs; Wayne L. Backes, Ph.D. – co-investigator,
             Sub-project “Pancreatic Cancer in Acadiana”, $260,750 total costs for WLB
             subproject.

      National Institute of Environmental Health Sciences (NIEHS – ES04344), “Toxicological
             Significance of Alkylbenzene Metabolism”, July 1, 2002 to May 31, 2007, Wayne
             L. Backes, Ph.D., Principal Investigator, $1,125,000 direct costs, $1,588,565 total
             costs (years 11 – 15).

      Departmental Excellence Through Faculty Excellence (DEFE – State of Louisiana),
             “Sustaining Excellence in the Department of Pharmacology and Experimental
             Therapeutics”, July 1, 2000 to 2010, direct costs per year – $142,275; direct costs
             thus far - $1,422,275.
      National Institute of Alcohol and Alcohol Abuse (NIH – T32 AA07577), “Biomedical
             alcohol Research Training Program”, September 1, 2005 to August 31, 2010,
             (Bagby/Shellito – Principal Investigators), W.L. Backes – member of core faculty,
             $1,051,617 direct costs, $1,135,739, total costs.
      National Institute of Environmental Health Sciences (NIEHS – P42 ES013648-), Health
             Impacts of Toxic Combustion By-Products, August 15, 2009 to August 14, 2011,
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             Dellinger (PI) Backes (co-PI for program), Administrative Core – 5% effort (0.6
             months), $36,540 direct costs (years 1 and 2)

      National Institute of Environmental Health Sciences (NIEHS – P42 ES013648-01A2),
             Health Impacts of Toxic Combustion By-Products, August 15, 2009 to August 14,
             2011, Project 4 (PI- Backes) – 5% effort (0.6 months), $158,683 direct costs

      National Institute of Environmental Health Sciences (NIEHS – ES004344-S1),
             “Toxicological Significance of Alkylbenzene Metabolism” Supplement for
             Summer Student Research Experiences, July 1, 2009 to September 30, 2010,
             Wayne L. Backes, Ph.D., Principal Investigator, $14,040 direct costs.

      National Institute of Environmental Health Sciences (NIEHS – P42 ES013648-03), LSU
             Superfund Research Center – Environmentally Persistent Free Radicals, August 1,
             2011 to July 31, 2012, Dellinger (PI),          Backes (co-PI for program),
             Administrative Core – 5% effort (0.6 months), $13,964,825 total costs.



PRESENT GRANT AWARDS:

      National Institute of Environmental Health Sciences (NIEHS – R01 ES004344),
             “Toxicological Significance of Alkylbenzene Metabolism”, April 1, 2009 to
             March 31, 2016, Wayne L. Backes, Ph.D., Principal Investigator, (3 months –
             25%) $1,413,000 direct costs, $1,979,000 total costs (years 16-20)

      National Institute of Environmental Health Sciences (NIEHS – P42 ES013648), LSU
             Superfund Research Center – Environmentally Persistent Free Radicals, August 1,
             2011 to July 31, 2016, Dellinger (PI), Project 5 – 10% effort (1.2 months),
             $13,964,825 total costs (for project 5 - $656,610 direct costs; $932,390 total
             costs)


PENDING GRANTS:

      National Institute of Environmental Health Sciences (NIEHS – R01 ES023743-01), Role
             of the Membrane on Heme Oxygenase and P450 Function, December 1, 2013 –
             November 30, 2018, Wayne L. Backes, Ph.D., Principal Investigator, $1,250,000
             direct costs, $1,754,149 total costs.

      National Institute of Environmental Health Sciences (NIEHS – R01 ES004344),
             “Toxicological Significance of Alkylbenzene Metabolism”, April 1, 2016 to
             March 31, 2021, Wayne L. Backes, Ph.D., Principal Investigator, (2.4 months –
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             20%) $1,755,298 direct costs, $2,534,215 total costs (years 21-25)


THESIS DISSERTATION:

      Backes, W.L. (1980), Substrate Binding to Cytochrome P-450, Ph.D. Thesis, West
            Virginia University, Morgantown, WV


PUBLICATIONS:

1.    Turner, J., Backes, W., Robinson, D. and Canady, W.J. (1977) A Reverse Type I
      Spectral Change Observed with Hemin and Its Possible Significance with Respect to
      Cytochrome P-450. Biochem. Pharmacol. 25, 1543-1546.

2.    Backes, W.L., Krause, R.F., and Canady, W.J. (1979) Observations Relating
      Phenobarbital Induction of Cytochrome P-450 to the Obligatory Destruction or Release
      of Vitamin A. Nutrition Reports International 19, 9-14.

3.    Backes, W.L., Sligar, S.G. and Schenkman, J.B. (1980) Cytochrome P-450 Reduction
      Exhibits Burst Kinetics. Biochem. Biophys. Res. Commun. 97, 860-867.

4.    Backes, W.L. and Canady, W.J. (1981) Solvent Effect on the Spectral Characteristics of
      Cytochrome P-450 - Specific Interactions with Dual Substrates. J. Biol. Chem. 256,
      7213-7227.

5.    Backes, W.L. and Canady, W.J. (1981) Methods for the Evaluation of Hydrophobic
      Substrate Binding to Cytochrome P-450. Pharmacology and Therapeutics 12, 133-158.

6.    Backes, W.L., Hogaboom, M.L. and Canady, W.J. (1982) Factors Controlling the
      Association of Substrates to Cytochrome P-450: Size Dependence for Hydrocarbon
      Binding. J. Biol. Chem. 257, 4063-4071.

7.    Backes, W.L., Sligar, S.G. and Schenkman, J.B. (1982) Burst Kinetics of Cytochrome P-
      450 Reduction and Correlation Between Reduction and Spin State. Biochemistry 21,
      1324-1330.

8.    Schenkman, J.B., Jansson, I., Backes, W.L., Cheng, K.-C. and Smith, C. (1982)
      Dissection of Cytochrome P-450 Isozymes (RLM) from Fractions of Untreated Rat Liver
      Microsomal Proteins. Biochem. Biophys. Res. Commun. 107, 1517-1523.

9.    Backes, W.L., Means, M.L. and Canady, W.J. (1984) Competition Between
      Hydrocarbon and Barbiturate for Spectral Binding to Hepatic Cytochrome P-450:
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Wayne L. Backes, Ph.D.
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      Inferences Concerning Spin State of the Enzyme. J. Biol. Chem. 259, 10092-10099.

10.   Tamburini, P.P., Gibson, G.G., Backes, W.L., Sligar, S.G. and Schenkman, J.B. (1984)
      Reduction Kinetics of Purified Rat Liver Cytochrome P-450: Evidence for a Sequential
      Reaction Mechanism Dependent on the Hemoprotein Spin State. Biochemistry 23, 4526-
      4533.

11.   Backes, W.L., Tamburini, P.P., Jansson, I., Gibson, G.G., Sligar, S.G. and Schenkman,
      J.B. (1985) Kinetics of Cytochrome P-450 Reduction: Evidence for Faster Reduction of
      the High-Spin Ferric State. Biochemistry 24, 5130-5136.

12.   Backes, W.L., Jansson, I., Mole, J.E., Gibson, G.G. and Schenkman, J.B. (1985)
      Isolation and Comparison of Four Cytochrome P-450 Enzymes from Phenobarbital-
      Induced Rat Liver: Three Forms Possessing Identical NH2-Terminal Sequences.
      Pharmacology 31, 155-169.

13.   Backes, W.L., Turner, J., Heimann, T.G. and Canady, W.J. (1986) Association of
      Hydrophobic Substances with Hemin - Characteristics of the Reverse Type I Binding
      Spectrum and its Relationship to Cytochrome P-450. Biochemical Pharmacology 35,
      4443-4448.

14.   Tamburini, P.P., Jansson, I., Favreau, L.V., Backes, W.L. and Schenkman, J.B. (1986)
      Differences in the Spectral Interactions Between NADPH-Cytochrome P-450 Reductase
      and a Series of Cytochrome P-450 Enzymes. Biochem. Biophys. Res. Commun. 137,
      437-442.

15.   Backes, W.L. and Reker-Backes, C.E. (1988) The Effect of NADPH Concentration on
      the Reduction of Cytochrome P-450 LM2. J. Biol. Chem. 263, 247-253.

16.   Raeburn, D., Sequeira, D.J. and Backes, W.L. (1988) Possible Involvement of
      Cytochrome P-450 in the Epithelium- Modulated Responses to Methacholine in Guinea-
      Pig Trachea. Biochemical Pharmacology 37, 573-576.

17.   Backes, W.L., and Eyer, C.S. (1989) Cytochrome P-450 LM2 Reduction: Substrate
      Effects on the Rate of Reductase-LM2 Association. J. Biol. Chem. 264, 6252-6259.

18.   Causey, K.M., Eyer, C.S. and Backes, W.L. (1990) Dual Role of Phospholipid in the
      Reconstitution of Cytochrome P-450 LM2-Dependent Activities. Mol. Pharmacol. 38,
      134-142.

19.   Eyer, C.S. and Backes, W.L. (1991) Relationship Between the Rate of Reductase -
      Cytochrome P450 Complex Formation and the Rate of First Electron Transfer. Arch.
      Biochem. Biophys. 293, 231-240.
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Wayne L. Backes, Ph.D.
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20.   Sequeira, D.J., Eyer, C.S. Cawley, G.F., Nick, T.G. and Backes, W.L. (1992)
      Ethylbenzene-mediated Induction of Cytochrome P450 Isozymes in Male and Female
      Rats. Biochem. Pharmacol. 44, 1171-1182.

21.   Backes, W.L., Sequeira, D.J., Cawley, G.F., and Eyer, C.S. (1993) Relationship Between
      Hydrocarbon Structure and Induction of Cytochrome P450: Effects on Protein Levels and
      Enzyme Activities. Xenobiotica 23, 1353-1366.

22.   Backes, W.L., Cawley, G., Eyer, C.S., Means, M., Causey, K.M. and Canady, W.J.
      (1993) Aromatic Hydrocarbon Binding to Cytochrome P450 and Other Enzyme Binding
      Sites: Are Hydrophobic Compounds Drawn into the Active Site or Pushed from the
      Aqueous Phase? Arch. Biochem. Biophys. 304, 27-37.

23.   Sequeira, D.J., Cawley, G.F., Eyer, C.S., and Backes, W.L. (1994) Temporal Changes in
      P-450 2E1 Expression with Continued Ethylbenzene Exposure. Biochim. Biophys. Acta
      1207, 179-186.

24.   Yuan, W., Cawley, G.F., Eyer, C.S., and Backes, W.L. (1994) Induction of P450 3A by
      Ethylbenzene Without Altering RNA Levels. Biochem. Biophys. Res. Commun. 202,
      1259-1265.

25.   Yuan, W., White, T.B., Yuan, W., White, J.W., Strobel, H.W., and Backes, W.L. (1995)
      Relationship Between Hydrocarbon Structure and Induction of Cytochrome P450: Effect
      on RNA Levels. Xenobiotica 25, 9-16.

26.   Cawley, G.F., Batie, C.J., and Backes, W.L. (1995) Substrate-Dependent Competition of
      Different P450 Isozymes for Limiting NADPH-Cytochrome P450 Reductase.
      Biochemistry 34, 1244-1247.

27.   Yuan, W., Serron, S.C., Cawley, G.F., Eyer, C.S., and Backes, W.L. (1997)
      Ethylbenzene Modulates the Expression of Different Cytochrome P450 Isozymes by
      Unique Multistep Processes. Biochim. Biophys. Acta 1334, 361-372.

28.   Yuan, W., Sequeira, D.J., Cawley, G.F., Eyer, C.S., and Backes, W.L. (1997) Time
      Course for the Modulation of Cytochrome P450 After Administration of Ethylbenzene
      and its Correlation with Toluene Metabolism. Arch. Biochem. Biophys. 339, 55-63.

29.   Bergeron1, R.M., Serron, S.C., Rinehart, J.J., Cawley, G.F., and Backes, W.L. (1998)
      Pituitary Component of the Ethylbenzene-Mediated Expression of Cytochrome P450s
      2B1, 2B2 and 2C11. Xenobiotica 28, 303-312.

30.   Backes, W.L., Batie, C.J., and Cawley, G.F. (1998) Interactions Among P450 Isozymes:
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Wayne L. Backes, Ph.D.
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      Evidence for the Existence of a 2B4-1A2-Reductase Complex with Altered Catalytic
      Function. Biochemistry 37, 12852-12859.

31.   Bergeron, R.M., Desai, K., Serron, S.C., Cawley, G.F., Eyer, C.S. and Backes, W.L.,
      (1999) Changes in the Expression of Cytochrome P450s 2B1, 2B2, 2E1, and 2C11 in
      Response to Daily Aromatic Hydrocarbon Treatment. Toxicol. Applied Pharmacol. 157,
      1-8.

32.   Serron, S.C., Dwivedi, N., and Backes, W.L. (2000) Ethylbenzene Induces Microsomal
      Oxygen Free Radical Generation: Antibody-directed characterization of the responsible
      cytochrome P450 isozymes. Toxicol. Applied Pharmacol. 164, 305-311.

33.   Serron, S.C., Zhang, S., Bergeron, R.M., and Backes, W.L., (2001) Effect of
      Hypophysectomy and Growth Hormone Replacement on the Modulation of P450
      Expression after Treatment with the Aromatic Hydrocarbon Ethylbenzene Toxicol.
      Applied Pharmacol. 172, 163-171.

34.   Backes, W.L., Zhang, S., Kelley, R.W., and Cawley, G.F., (2001) Evidence supporting
      the interaction of CYP2B4 and CYP1A2 in microsomal preparations Drug Metabol.
      Dispos. 29, 1529-1534.

35.   Backes, W.L. and Serron, S.C., (2001) Invited response to a letter to the editor regarding
      “Ethylbenzene Induces Microsomal Oxygen Free Radical Generation: Antibody-directed
      characterization of the responsible cytochrome P450 isozymes”. Toxicol. Applied
      Pharmacol. 173, 189-189.

36.   Zhang, S., Cawley, G.F., Eyer, C.S., and Backes, W.L. (2002) Altered Ethylbenzene-
      Mediated Hepatic CYP2E1 Expression in Growth Hormone Deficient Dwarf Rats.
      Toxicol. Applied Pharmacol. 179, 74-82.

37.   Hunt, J.D., Strimas, A., Martin, J.E., Eyer, M., Haddican, M., Luckett, B.G., Ruiz, B.,
      Axelrad, T. W., Backes, W.L., and Fontham, E.T.H. (2002) Differences in KRAS
      Mutation Spectrum in Lung Cancer Cases between African Americans and Caucasians
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45.   Kelley, R.W., Cawley, G.F., and Backes, W.L. (2003) Organization of Multiple
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      Cytochrome P450s in Reconstituted Systems, the 3rd Southwest P450 Meeting, Camp
      Allen, Navasota, TX.

46.   Backes, W.L., Kelley, R.W., and Cheng, D. (2003) Interactions Among Reductase and
      Multiple P450 Enzymes in Mixed Reconstituted Systems, the 3rd Southwest P450
      Meeting, Camp Allen, Navasota, TX.

47.   Cheng, D. Kelley, R. W., Cawley, G.F. and Backes, W.L. (2003) High-level Expression
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      Southwest P450 Meeting, Camp Allen, Navasota, TX.

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      Multiple P450 Enzymes in Mixed Reconstituted Systems, 13th International Conference
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      Republic.

49.   Kelley, R.W., Cawley, G.F., and Backes, W.L. (2003) Protein Density and Electrostatic
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      Reconstituted Systems, Gordon Conference on Drug Metabolism.

50.   Cheng, D. Kelley, R. W., Cawley, G.F. and Backes, W.L. (2003) High-level Expression
      of the Recombinant Rabbit Cytochrome P450 2E1 in Escherichia coli C41, Gordon
      Conference on Drug Metabolism.

51.   Cheng, D., Reed, J.R., Kelley, R.W., and Backes, W.L. (2004) The Use of the
      Mechanism Based Inhibitor 2-Ethynylnaphthalene (2EN) to Probe the Active Site of
      CYP2B4, the 4th Southwest P450 Meeting, Camp Allen, Navasota, TX.

52.   Reed, J.R., Kelley, R. W., and Backes, W.L. (2004) Characterization of Comparison of
      Methods for Vesicular Reconstitution of Cytochrome P450 2B4 and NADPH-P450
      Reductase, the 4th Southwest P450 Meeting, Camp Allen, Navasota, TX.

53.   Backes, W. L. (2004) Evidence for the Direct Interaction of Cytochrome P450 Enzymes:
      How Do These Interactions Affect P450 Function? 7th International Conference on
      Drug-Drug Interactions: Mechanism, Prediction, Accuracy, Clinical Approaches and
      Novel DDI Events.

54.   Backes, W.L., Reed, J.R., Kelley, R.W., and Cheng, D. (2005) How Are NADPH-
      Cytochrome P450 Reductase And Multiple Cytochromes P450 Organized In
      Membranes?, 14th International Conference on Cytochrome P450: Biochemistry,
      Biophysics and Bioinformatics, Dallas, TX, USA.

55.   Reed, J.R., Brignac, L.M., and Backes, W.L. (2005) An Improved Method for Physically
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      Incorporating Proteins of the Cytochrome P450 Monooxygenase System into
      Phospholipid Vesicles, 14th International Conference on Cytochrome P450:
      Biochemistry, Biophysics and Bioinformatics, Dallas, TX, USA.

56.   Cheng, D. and Backes, W.L. (2005) P450 Interaction Effects the Catalytic Properties of
      CYP1A2, 14th International Conference on Cytochrome P450: Biochemistry, Biophysics
      and Bioinformatics, Dallas, TX, USA.

57.   Backes, W.L. (2006) How are NADPH-cytochrome P450 reductase and multiple
      cytochromes P450 organized in membranes? Experimental Biology, San Francisco, CA,
      April 2006.

58.   Cheng, D. and Backes, W.L. (2007) P450 How Are Reductase (CPR) and Multiple P450s
                                     th
      Organized in Membranes?, 15       International Conference on Cytochrome P450:
      Biochemistry, Biophysics and Bioinformatics, Dallas, TX, USA.

59.   Backes, W.L. (2007) Interactions between Different P450 Enzymes: How do these
      Interactions Affect P450 Function?, Gordon Conference on Drug Metabolism, Plymouth,
      NH.

60.   Brignac-Huber, Reed, J.R., and Backes, W.L. (2008) Potential lipid microdomains of the
      endoplasmic reticulum: How does this affect the P450 system?, Experimental Biology,
      San Diego, CA, April 2008.

61.   Huber, W.J. and Backes, W.L. (2008) C-terminal Membrane Spanning Region of Human
      Heme Oxygenase-1 Mediates a Time-Dependent Complex Formation with NADPH-
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62.   Brignac-Huber, L.M., Reed, J.R., and Backes, W.L. (2009) Heterogeneous organization
      of the P450 system in lipid microdomains of the endoplasmic reticulum. Experimental
      Biology, New Orleans, LA, April 2009.

63.   Reed, J.R., and Backes, W.L. (2009) Functional interactions between CYP1A2 and
      CYP2B4 require both enzymes to reside in the same phospholipid vesicle. Experimental
      Biology, New Orleans, LA, April 2009.

64.   Huber, W.J. III, Marohnic, C., Peters, M, Alam, J., Masters, B.S.S., and Backes, W.L.
      (2009) Measurement of membrane-bound human heme oxygenase-1 activity using a
      chemically defined assay system. Experimental Biology, New Orleans, LA, April 2009.

65.   Marohnic, C.C., Panda, S.P., Backes, W.L., Huber, W.J. III, Kranendonk, M., Xia, C.,
      Kim, J.-J., and Masters, B.S. (2010) Molecular and Cellular Consequences of Human
      Mutations in NADPH-Cytochrome P450 Reductase with Various Redox Partners.
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      Microsomes and Drug Oxidations, Beijing, China, May 2010.

66.   Backes, W.L., Reed, J.R., Huber, W.J. III, Connick, J.P., Brignac-Huber, L., Eyer, M.,
      and Cawley, G.F. (2010) Effects of P450-P450 Complexes on Monooxygenase Function.
      Conference on Microsomes and Drug Oxidations, Beijing, China, May 2010.

67.   Reed, J.R., Cawley, G.F., and Backes, W.L. (2011) Interactions between Cytochromes
      P450 2B4 (CYP2B4) and 1A2 (CYP1A2) Lead to Alterations in Toluene Disposition and
      P450 Uncoupling, Experimental Biology, Washington, DC, April 2011.

68.   Brignac-Huber, L., Reed, J.R., and Backes, W.L. (2011) Organization of NADPH-
      Cytochrome P450 Reductase and CYP1A2 in the Endoplasmic Reticulum –
      Microdomain localization affects monooxygenase function, Experimental Biology,
      Washington, DC, April 2011.

69.   Park, J.W., Reed, J.R., Brignac-Huber, L.M., Cawley, G.F., Eyer, M. and Backes, W.L.
      (2012) Purification of Human Cytochromes P450 and Their Interactions in Vesicular
      Lipid Reconstituted Systems, Experimental Biology2012, San Diego, CA, April 2012.

70.   J. Patrick Connick, James R. Reed, Dongmei Cheng, George F. Cawley, and Wayne L.
      Backes (2012) Cytochrome P450 1A2 forms catalytically relevant homomeric
      complexes, Experimental Biology 2012, San Diego, CA, April 2012.

71.   Reed, J.R. and Backes, W.L. (2012) In vitro inhibition of cytochrome P450-specific
      enzymatic activities in liver microsomes by ultrafine nanoparticles containing
      environmentally persistent free radicals, American Chemical Society, Baton Rouge, LA
      November 2012.

72.   Park, J.W., Reed, J.R., Brignac-Huber, L.M., Cawley, G.F., and Backes, W.L. (2013)
      Organization of Cytochrome P450 System Components in the Endoplasmic Reticulum,
      Experimental Biology 2013, Boston, MA, April 2013

73.   J. Patrick Connick1 , James R. Reed, and Wayne L. Backes (2013) Physical interactions
      among NADPH-cytochrome P450 reductase, CYP1A2 and CYP2B4 in the endoplasmic
      reticulum, Experimental Biology 2013, Boston, MA, April 2013

74.   Connick, J.P., Reed, J.R. and Backes, W.L. (2014) Physical interaction between CYP1A2
      and CYP2B4 causes a disruption of inhibitory CYP1A2 complexes, Experimental
      Biology 2014, San Diego, CA, April 2014

75.   Park, J.W., Reed, J.R., Brignac-Huber, L.M., Cawley, G.F., and Backes, W.L. (2013)
      Organization of Cytochrome P450 System Components in the Endoplasmic Reticulum,
      Experimental Biology 2014, San Diego, CA, April 2014
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76.   Backes, W.L., Park, J.W., Connick, J.P., and Reed, J.R. (2014) CYP1A2 and CYP2E1
      Reside in Different Regions of the Endoplasmic Reticulum, Conference on Microsomes
      and Drug Oxidations, Stuttgart, Germany, May 2014.

77.   Park, J.-W., Reed, J.R., and Backes, W.L. (2014) Different Microdomain Localization of
      Cytochrome P450 System Components in the Endoplasmic Reticulum and Identification
      of Microdomain Targeting Sequences, Gordon Research Conference on Drug
      Metabolism, July 2014.

78.   Connick, J. P., Reed, J.R. and Backes, W.L. (2014) Heteromeric CYP1A2-CYP2B4
      complexes are associated with altered P450 activity, Gordon Research Conference on
      Drug Metabolism, July 2014.

79.   Backes, Wayne L., Park, Ji-Won, Connick, J. Patrick, and Reed, James R. (2014)
      CYP1A2 and CYP2E1 Reside in Different Regions of the Endoplasmic Reticulum,
      International Conference on Microsomes and Drug Oxidations, Stuttgart, DE, May 2014.

80.   Backes, Wayne L., Ardoin, Taylor, G. and Reed, James R. (2014) Environmentally
      Persistent Free Radicals Inhibit CYP2B4 by Disruption of NADPH-cytochrome P450
      reductase-CYP2B4 Complex Formation, Superfund Research Program Annual Meeting,
      San Jose, CA, Oct 2014.

81.   Reed, James R., Park, J.-W., Backes, W.L. (2015) The Role of the Endoplasmic
      Reticulum in Modulating P450 Function, Experimental Biology 2015, Boston MA,
      March 2015.

82.   Park, J.-W., Reed, J.R., and Backes, W.L. (2015) The N-terminal Regions of CYP1AQ
      Proteins Affect Their Microdomain Localization in the Endoplasmic Reticulum,
      Experimental Biology 2015, Boston MA, March 2015.

83.   Connick, J.P., Reed, J.R., and Backes,W.L. (2015) CYP1A2 and CYP2B4 Form
      Complexes Associated with Altered Catalytic Activity, Experimental Biology 2015,
      Boston MA, March 2015.

84.   Backes, W.L., Park, J.W., Connick, J.P., and Reed, J.R. (2015) Role of the Lipid
      Membrane in the Localization of P450 System Proteins in the Endoplasmic Reticulum,
      International Conference on Cytochrome P450, Tokyo, Japan, June 12-15, 2015.

85.   Reed J.R. and Backes, W.L. (2015) Environmentally Persistent Free Radicals Inhibit
      CYP1A2 and CYP2B4 by Different Mechanisms, Superfund Research Program Annual
      Meeting, San Juan, Puerto Rico, Nov. 18-20, 2015.
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86.   Backes, W.L., Reed, J.R., Connick, J.P., and Park, J-W (2016) The Role of Membrane-
      P450 and P450-P450 Interactions on their Organization in the Endoplasmic Reticulum;
      21st International Symposium on Microsomes and Drug Oxidations Conference (Davis,
      CA), Oct. 2-6, 2016.
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INVITED LECTURES

      University of Surrey, Department of Biochemistry, “Effect of Spin State on the
             Reduction of Cytochrome P450”, Guildford, Surrey, UK, August 26, 1981.

      Louisiana State University Medical Center, Department of Microbiology, Immunology
             and Parisitology, “The Effect of Hydrophobicity on the Association of Substrates
             with Cytochrome P450”, April 1987.

      Mardi Gras Symposium, Louisiana State University Medical Center. “The Effect of the
            Reduction State of NADPH-Cytochrome P450 Reductase on the Rate of Electron
            Transfer to Cytochrome P450”, New Orleans, LA, March 1988.

      Louisiana State University Medical Center, Department of Biochemistry and Molecular
             Biology, “Factors Affecting the Reduction of Cytochrome P450”, Feb. 1989.

      West Virginia University Medical Center, Department of Biochemistry and Molecular
            Biology, “Factors Affecting Electron Transfer to Cytochrome P450”,
            Morgantown, WV, April 12, 1990.

      Tulane University Medical Center, Department of Pharmacology, “The Effect of
            Hydrocarbon Exposure on the Expression of Cytochrome P450”, New Orleans,
            LA, October 1990.

      University of New Orleans, Department of Chemistry, “The Effect of Hydrocarbon
             Exposure on the Induction of Cytochrome P450”, New Orleans, LA, November
             1990.

      University of Texas Health Science Center, “Factors Affecting the Expression of
             Cytochrome P450 After Hydrocarbon Exposure”, Houston, TX, January 1991.

      Louisiana State University, Department of Biochemistry, “Effect of Hydrocarbon
             Exposure on Cytochrome P450 Expression”, Baton Rouge, LA, April, 1992.

      Louisiana State University Medical Center, Department of Physiology, “Effect of
             Aromatic Hydrocarbon Exposure on the Expression of Cytochrome P450”, Feb.
             20, 1995.

      Emory University, Department of Pharmacology, “Effect of Aromatic Hydrocarbons on
            Cytochrome P450 Expression”, Atlanta, GA, January 30, 1996.
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      Emory University, Department of Pharmacology, “Thermodynamic Factors Influenceing
            the Binding and Catalysis of Xenobiotics by the Cytochrome P450 System”,
            Atlanta, GA, January 31, 1996.

      Tulane University School of Public Health, Environmental Health Sciences, “Effect of
             Aromatic Hydrocarbon Exposure on the Expression of Cytochrome P450”,
             February 23, 1996.

      University of South Florida, Department of Pharmacology and Therapeutics, “Effect of
             Small Aromatic Hydrocarbons on P450 Expression”, Tampa, FL, March 18,
             1996.

      Northeast Louisiana University, Divisions of Molecular Pharmacology, Toxicology, and
             Pharmaceutics, Protein-protein interactions and P450 induction – Two different
             processes that govern cytochrome P450 catalytic activities”, March 21, 1997.

      Louisiana State University Medical Center, Department of Pharmacology and
             Experimental Therapeutics, “Cross-Talk Among P450 Enzymes – Evidence for
             the existence of P450-P450 complexes with altered catalytic function”, January
             20, 1998.

      Gordon Research Conference on Drug Metabolism, Holderness School, Plymouth, New
            Hampshire, “Interactions among Multiple P450 Enzymes and Reductase in Mixed
            Reconstituted Systems”, July 2000.

      52nd Southeast/56th Southwest Combined Regional Meeting or the American Chemical
             Society, New Orleans, LA, “Interactions between Reductase and P450, December
             2000.

      Oncology Grand Rounds, Stanley S. Scott Cancer Center, Louisiana State University
            Health Sciences Center, “Interactions among Proteins in the P450 Enzyme
            System and their Relation to Cancer”, New Orleans, LA, March 8, 2001.

      40th Annual Meeting of the Society of Toxicology Interaction Among NADPH-
            Cytochrome P450 Reductase, P450 2B4 and P450 1A2 in Microsomal
            Preparations, San Francisco, CA, March 28, 2001.

      Pfizer, Inc., Groton, CT, “Interaction of CYP Isoforms with Reductase”, May 8-10, 2001.

      The 1st Southwest P450 Meeting, Camp Allen, Navasota TX, “Interactions Among
             Reductase and Multiple P450s”, May 2001.
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      LSU Health Sciences Center, New Orleans, LA, Department of Physiology, “Does the
           Presence of One P450 Enzyme Affect the Function of Other P450s?” November
           12, 2001.

      Department of Pharmacology, Tulane University School of Medicine, “Does the Presence
            of One P450 Enzyme Affect the Function of Other P450s?” March 22, 2002.

      Tulane Cancer Center, Tulane University School of Medicine, “Alterations in Drug and
             Carcinogen Metabolism Due to Interactions Among Cytochrome P450 Enzymes”
             January 16, 2003.

      The 3rd Southwest P450 Meeting, Camp Allen, Navasota TX, “Does One P450 Influence
              the Function of Another P450 Enzyme”, May 2003.

      The 13th International Symposium on Cytochrome P450: Biochemistry, Biophysics, and
             Drug Metabolism, Prague, Czech Republic, Interactions among Reductase and
             Multiple P450 Enzymes in Mixed Reconstituted Systems, July 2003.

      Gordon Research Conference on Drug Metabolism, Holderness School, Plymouth, New
            Hampshire, “Direct Interactions Among Reductase and Multiple Cytochrome
            P450 Enzymes”, July 2003

      University of Texas Health Science Center, “Organization of Reductase and P450 in
             Reconstituted Systems: A Case for the Formation of Heteromeric P450
             Complexes”, Houston, TX, September 9, 2003.

      Louisiana State University Health Sciences Center – Shreveport, “Evidence for the Direct
             Interaction of Cytochrome P450 Enzymes: How do these interactions affect P450
             function?” Shreveport, LA, January 20, 2004.

      Symposium in Honor of the Retirement of Dr. William Alworth, Tulane University,
           “Organization of Reductase and P450 in Reconstituted Systems: Formation of
           heteromeric P450 complexes and their effect on P450 function”, New Orleans,
           LA, May 14, 2004.

      The 7th International Conference on Drug-Drug Interactions: Mechanism, Prediction,
             Accuracy, Clinical Approaches and Novel DDI Events, "Evidence for the Direct
             Interaction of Cytochrome P450 Enzymes: How do these interactions affect P450
             function", San Diego, CA, June 14-16, 2004.

      Tulane University Health Sciences Center - School of Medicine, Department of
            Physiology, Evidence for the Direct Interaction of Cytochrome P450 Enzymes:
            How Do These Interactions Affect P450 Function?, New Orleans, LA, December
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             6, 2004.

      The 14th International Symposium on Cytochrome P450: Biochemistry, Biophysics, and
             Bioinformatics, Dallas, USA, How are NADPH-cytochrome P450 Reductase and
             Multiple Cytochromes P450 Organized in Membranes?, June 2005.

      Experimental Biology, San Francisco, CA, USA, How are NADPH-cytochrome P450
            reductase and multiple cytochromes P450 organized in membranes? April 2006.

      The 6th Southwest P450 Meeting, Camp Allen, Navasota TX, “Hurricane Katrina –
              Effects on Biomedical Research”, May 2006.

      Gordon Research Conference on Drug Metabolism, Holderness School, Plymouth, New
            Hampshire, “Hurricane Katrina – Effects on Biomedical Research”, July 2006

      West Virginia University Cancer Center, Cell and Molecular Biology Series,
            “Interactions among Multiple P450 Enzymes and P450 Reductase - How are these
            proteins organized in the membrane?” October 2006

      University of Arkansas Medical School, “Does the Crowding of Multiple P450s in the
             Endoplasmic Reticulum Affect their Function?” February 2007

      Gordon Research Conference on Drug Metabolism, Holderness School, Plymouth, New
            Hampshire, "Interactions between Different P450 Enzymes: How do these
            Interactions affect P450 function?" July 2007

      LSU Health Sciences Center, New Orleans, LA, Department of Physiology, “Does the
           Crowding of Multiple P450s in the Endoplasmic Reticulum Affect their Function”
           November 12, 2007.

      Tulane University Health Sciences Center, Louisiana Cancer Research Consortium, New
             Orleans, LA, “Does the crowding of multiple P450s into membranes affect their
             function?”, August 13, 2009.

      University of Missouri – Kansas City, Kansas City, MO, Department of Pharmacy, “How
             are Microsomal Electron Transport Proteins Organized with the Membrane?”,
             September 10, 2009.

      LSU Health Sciences Center, New Orleans, LA, Department of Physiology, “Effect of
           Protein-Protein Interactions on the Function of the Microsomal Electron
           Transport Chain” March 18, 2010.
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      Experimental Biology, Anaheim, CA, “Effect of P450-P450 Complex Formation on
            Monooxygenase Function”, April 25-28, 2010.

      Microsomes and Drug Oxidations International Conference, Beijing, China, “Complexes
            between Multiple P450s Affect Monooxygenase Function”, May 2010.

      Gordon Research Conference on Drug Metabolism, Holderness School, Plymouth, New
            Hampshire, " How are Microsomal Electron Transport Proteins Organized in the
            Membrane?" July 2010.

      Vanderbilt University, Nashville Tennessee, “The Effect of P450•P450 Complexes on
            Monooxygenase Function”, October 14, 2011.

      Department of Biochemistry and Molecular Biology, LSU Health Sciences Center, New
            Orleans, LA, “The Role of P450-P450 Interactions on Drug and Foreign
            Compound Metabolism”, September 28, 2012.

      American Chemical Society, Baton Rouge, LA, Reed, J.R. and Backes, W.L. In vitro
            inhibition of cytochrome P450-specific enzymatic activities in liver microsomes
            by ultrafine nanoparticles containing environmentally persistent free radicals,
            November 2012

      Backes, W.L., Oregon State University, Corvallis, OR, “Organization of P450 System
            Enzymes in their Membrane Environment”, March 22, 2013

      Backes, W.L., Park, J.W., Connick, J.P., and Reed, J.R., CYP1A2 and CYP2E1 Reside in
            Different Regions of the Endoplasmic Reticulum, Conference on Microsomes and
            Drug Oxidations, Stuttgart, Germany, May 2014.

      Park, J.-W., Reed, J.R., and Backes, W.L., Different Microdomain Localization of
             Cytochrome P450 System Components in the Endoplasmic Reticulum and
             Identification of Microdomain Targeting Sequences, Gordon Research
             Conference on Drug Metabolism, July 2014.

      Backes, W.L. (2015) The Role of Protein-Protein and Protein-Membrane Interactions on
            P450 Function – symposium Introduction, Experimental Biology 2015, Boston
            MA, March 2015

      Reed, James R., Park, J.-W., Backes, W.L. (2015) The Role of the Endoplasmic
            Reticulum in Modulating P450 Function, in Symposium 157: The Role of
            Protein-Protein and Protein-Membrane Interactions on P450 Function,
            Experimental Biology 2015, Boston MA, March 2015.
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      Backes, W.L., Park, J.W., Connick, J.P., and Reed, J.R. (2015) Role of the Lipid
            Membrane in the Localization of P450 System Proteins in the Endoplasmic
            Reticulum, International Conference on Cytochrome P450, Tokyo, Japan, June
            12-15, 2015.

      Backes, Wayne L. (2016) Organization of Cytochrome P450 System Proteins in the
            Endoplasmic Reticulum, CEET/Penn SRP Center Seminar Series, University of
            Pennsylvania, March 3, 2016.
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                         APPENDIX B
                             Materials Relied On, Reviewed, and/or Considered by Wayne L. Backes, Ph.D.

   All materials referenced and/or discussed within the report are incorporated. In addition to the materials specifically referenced
                      within the report, the other materials relied on, reviewed, and/or considered are as follows:

Literature
Abraham, N.S., et al. Comparative risk of gastrointestinal bleeding with dabigatran, rivaroxaban, and warfarin: population based cohort
study . BMJ 2015;350:h1857.
Budnitz, D., et al. Emergency Hospitalizations for Adverse Drug Events in Older Americans . NEJM 2011; 365:2002-12
Buller, H.R., et al. A dose-ranging study evaluating once-daily oral administration of the factor Xa inhibitor rivaroxaban in the treatment of
patients with acute symptomatic deep vein thrombosis: the Einstein-DVT Dose-Ranging Study . Blood 2008;112:2242-2247.
Cappato, R., et al. Uninterrupted rivaroxaban vs. uninterrupted vitamin-K antagonists for catheter ablation in non-valvular atrial fibrillation .
European Heart Journal 2015;36:1805-1811.
Chang, H.Y., et al. Risk of gastrointestinal bleeding associated with oral anticoagulants: population based retrospective cohort study . BMJ
2015;350:h1585.
Chang, J., et al. A novel, rapid method to compare the therapeutic windowsor oral anticoagulants using the Hill coefficient. Scientific Reports
2016; 10.1038.
Chatterjee, S., et al. Association of Blood Transfusion With Increased Mortality in Myocardial Infarction: A Meta-analysis and Diversity-
Adjusted Study Sequential Analysis. JAMA Internal Med 2013; 173(2):132-139.
Chatterjee, S., et al. Review: Blood transfusions are associated with higher mortality than no or restricted transfusions in MI. JAMA Internal
Med 2013; 173:132-9.
Chin, P. Which Patients May Benefit from Dose Adjustment of Non-Vitamin K Antagonist Oral Anticoagulants? Semin Thomb Hemost 2015;
41:195-207.
Cohen, A.T., et al. Rivaroxaban for Thromboprophylaxis in Acutely Ill Medical Patients . N Engl J Med 2013;368:513-23.
Cohen, D. Dabigatran: how the drug company withheld important analyses. BMJ 2014; 349:1-7.
Cohen, D. Rivaroxaban: can we trust the evidence? BMJ 2016; 352:1-4.
Connolly, Stuart, et al. Dabigatran versus Wafarin in Patients with Atrial Fibrillation. NEJM 2009: 361(12):1139-51.
Douxfils, J., et al. Assessment of the impact of rivaroxaban on coagulation assays: Laboratory recommendations for the monitoring of
rivaroxaban and review of the literature. Thrombosis Research 2012.
EINSTEIN Investigators, The. Oral Rivaroxaban for Symptomatic Venous Thromboembolism . N Engl J Med 2010;363:2499-510.
EINSTEIN-PE Investigators, The. Oral Rivaroxaban for the Treatment of Symptomatic Pulmonary Embolism . N Engl J Med 2012;336:1287-
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97.
Ericksson, et al. Rivaroxaban versus Enoxaparin for Thromboprophylaxis after Hip Arthroplasty . N.Engl.J.Med. 2008;358:2765-75.
Ezekowitz MD et al. Dabigatran With or Without Concomitant Aspirin Compared with Warfarin Alone in Patients with Nonvalvular Atrial
Fibrillation (PETRO Study). AJC 2007; 100:1419-26.
Giguliano, R., et al. Edoxaban versus Warfarin in Patients with Atrial Fibrillation. NEJM 2013; 369(22): 2093-2104.
Girgis, I.G., et al. Population Pharmacokinetics and Pharmacodynamics of Rivaroxaban in Patients with Non-valvular Atrial Fibrillation:
Results from ROCKET AF . J Clin Pharmacol 2014;54(8):917-927.
Gorst-Rasmussen, A., et al. Rivaroxaban versus warfarin and dabigatran in atrial fibrillation: comparative effectiveness and safety in Danish
routine care . Pharmacoepidemiology and Drug Safety 2016.
Graham, et al. Stroke, bleeding and mortality risks in elderly medicare beneficiaries treated with dabigatran or rivaroxaban for nonvalvular
atrial fibrillation. JAMA (2016).
Gram, T.E. Chapter 4 - Metabolism of Drugs in Modern Pharmacology 4th Ed. Charles R. Craig and Robert E. Stitzel, eds. Little, Brown and
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                         APPENDIX C
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